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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA


  (1) DAVID AL’HAMZAWI d/b/a OKLAHOMA §
  BUILDING SUPPLY                     §
                                      §
                   Plaintiff,         §
  vs.                                 §                   CASE NO. 13 CV-29-JED-TLW
                                      §
  (1) STATE FARM FIRE AND CASUALTY    §
  COMPANY                             §
                                      §
                   Defendant.         §                             JURY DEMANDED

                               STIPULATION OF DISMISSAL

         Pursuant to Federal Rules of Civil Procedure 41(a)(1)(ii), Plaintiff, David

  Al’Hamzawi d/b/a Oklahoma Building Supply, and Defendant State Farm Fire and

  Casualty Company, file this Stipulation of Dismissal because all matters in controversy

  have been resolved between the parties. The parties respectfully request that the Court

  dismiss this case with prejudice.

                                          By    /s/ Ron D. Brown
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                                          THE BROWN LAW FIRM, P.C.
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                                          COUNSEL FOR PLAINTIFF



                                          By     /s/ Daniel C. Andrews
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                                          CASUALTY COMPANY
